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 6

 7 Attorneys for Plaintiff
   UNITED STATES OF AMERICA
 8

 9                        UNITED STATES DISTRICT COURT

10                       SOUTHERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,            Case No.: 18-CR-03677-W

12              Plaintiff,

13        v.                              NOTICE OF APPEARANCE

14   DUNCAN D. HUNTER,
     MARGARET E. HUNTER
15
                Defendants.
16

17
          TO THE CLERK OF COURT AND ALL PARTIES OF RECORD
18
          I, the undersigned attorney, enter my appearance as lead counsel
19
     for the United States in the above-captioned case.    I certify that I
20
     am admitted to practice in this court or authorized to practice under
21
     CivLR 83.3.c.3-4.
22
          The following government attorneys (who are admitted to practice
23
     in this court or authorized to practice under CivLR 83.3.c.3-4) are
24
     also associated with this case, should be listed as lead counsel for
25
     CM/ECF purposes, and should receive all Notices of Electronic Filings
26
     relating to activity in this case:
27

28
 1           Name

 2           Emily Allen

 3           Phillip Halpern

 4           W. Mark Conover

 5      Effective this date, the following attorneys are no longer

 6 associated with this case and should not receive any further Notices

 7 of Electronic Filings relating to activity in this case (if the

 8 generic “U.S. Attorney CR” is still listed as active in this case in

 9 CM/ECF, please terminate this association):

10           Name

11           None.

12      DATED: June 20, 2019.

13                                      Respectfully submitted,

14                                      ROBERT S. BREWER, JR.
                                        United States Attorney
15

16                                      s/ Bradley G. Silverman
                                        BRADLEY G. SILVERMAN
17                                      Assistant U.S. Attorney
                                        Attorneys for Plaintiff
18                                      United States of America

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